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 7
 8                      IN THE UNITED STATES DISTRICT COURT
 9               IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
     THE UNITED STATES OF             )                CR-S-04-0305 DFL
12   AMERICA,                         )
                                      )                ORDER
13   Plaintiff,                       )
     v.                               )
14                                    )
     JAIME RUIZ-ESTRELLA, et al.      )
15                                    )
     Defendants.                      )
16   ________________________________ )
17          Based upon the stipulation of the parties, IT IS HEREBY ORDERED that the status
18   conference scheduled herein for July 14, 2005, shall be vacated, and that a briefing schedule
19   and motion hearing date shall be established, as follows:
20          !      Defense moving papers: July 25, 2005
21          !      Government opposition: August 18, 2005
22          !      Defense reply: August 25, 2005
23          !      Non-evidentiary hearing: September 1, 2005 at 10:00 a.m.
24          Time is excluded until September 1, 2005, for the reasons specified in the stipulation.
25
26   DATE: 7/11/ 2005                                  /s/ David F. Levi
                                                       HON. DAVID F. LEVI
27                                                     Chief United States District Judge
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